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4
     Attorney for Defendant
     Gabriel Viramontes
5
                           UNITED STATES DISTRICT COURT
6
                          EASTERN DISTRICT OF CALIFORNIA
7

8
     UNITED STATES OF AMERICA         )
9                                     )         No. Cr.S-07-432 EJG
                      Plaintiff       )
10                                    )
                vs.                   )
                                      )         REQUEST THAT U.S. MARSHALL
11                                    )         SERVICE NOT TRANSFER
     GABREIL VIRAMONTES               )         DEFENDANT TO FEDERAL BUREAU
12                                    )         OF PRISONS UNTIL JUNE 29,
                                      )         2012;ORDER
13                                    )
                                      )
14                    Defendant       )
                                      )
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16
                      INTRODUCTION and BASIS FOR REQUEST
17
        In this matter defendant, Gabriel Viramontes, was sentenced
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     to prison for 57 months on February 17, 2012. The matter is
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     presently set for a restitution hearing on June 15, 2012 at
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     10:00 AM. Defendant has requested that he be present during that
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     hearing.
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23
          However, defendant is presently scheduled to be transferred

24   to the Federal Bureau of Prisons on May 7, 2012. Accordingly, it

25   is respectfully requested that this Court order that defendant’s

     transfer date be continued to June 29, 2012. It is suggested


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1    that the transfer date be continued to two weeks beyond the
2    hearing date in order to accommodate any last minute changes in
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     court dates.)
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     DATED April 30, 2010             Respectfully submitted,
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8
                                      /S/MICHAEL B. BIGELOW
9                                     Attorney for Defendant

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13                                    ORDER
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16   IT IS SO ORDERED

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     DATED: April 30, 2012
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19                                           /s/ Edward J. Garcia
20                                           Hon. EDWARD J. GARCIA, Jr.
                                             Judge, U.S. District Court
21
                                             Eastern District, California
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